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       APPENDIX B
   James M. Libby,
              Case MD, FACS
                    1:19-cr-00850-JSR Document 144-2 Filed 02/16/21George
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                                                                          2 Jabren,
                                                                            of 2 MD, FACS
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February 8, 2021

RE: Parker Petit
DOB: 08/04/1939
Chart #:

Dear Your Honour:

Parker Petit was diagnosed with high-grade urothelial bladder cancer in 2018. He has required
multiple surgeries to remove the original and recurrent high-grade bladder cancer over the past three years. He
has undergone intravesical immunotherapy for the duration of his illness because of the high-risk nature of his
underlying cancer. His last tumor recurrence was in December 2020. Treatment of the recurrence had to be
postponed due to an acute urinary tract infection.

Mr. Petit has been extremely compliant with his follow-up, which requires cystoscopy every three months, to
monitor whether he has recurrence of his disease. Because of the high-risk nature of his underlying cancer,
he is now planning to return for initiation of weekly intravesical immunotherapy which requires instillation of a
liquid medicine into his bladder through a catheter in my office. He will need to undergo maintenance
immunotherapy for at least three years to limit his risk of recurrence of disease. If he has breakthrough tumors
despite this protocol, he may need more invasive surgery.

My recommendation is that Mr. Petit not miss any of his scheduled upcoming intravesical immunotherapy
treatments, which we currently have scheduled each Friday for the next six weeks. Furthermore, since Mr. Petit
is in the process of getting his second COVID vaccine injection, I recommend that he not travel for roughly two
months to allow the vaccine to work since Mr. Petit would be at high risk should he contract COVID-19.
During that time his intravesical immunotherapy treatments could continue.

Please take this information under consideration as his disease requires diligent and intensive follow-up and he
is highly motivated to maintain his health, particularly his bladder health at this time.

Sincerely,



James M. Libby, MD, FACS

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